Case

Co mH HTD HD nA FS WwW HHO

MY NY KY YY KY YY NY NY BRO RR ERE RSF Re IR
oOo a1 DW A FW NY RK CO DO WOAH DH fF WwW YP | &

b:19-cv-00849-JGB-SHK Document 27 Filed 06/30/20 Page 1of1i Page ID #:154

JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

VINCENT FLOYD RUSSO, Case No. 5:19-cv-00849-JGB (SHK)
Plaintiff,

y JUDGMENT

CHIKKA RAJU, et al.,

Defendants.

 

 

Pursuant to the Order Dismissing Complaint,
IT IS HEREBY ADJUDGED that this action is DISMISSED without

Gi

HON@HABLE JESUS G7 BERNAL
Unitefl Atates District Judge

prejudice.

  

DATED: 6/30/2020

 

 

 
